CaS€ 8-15-75190-38'[ DOC 35 Filed 05/13/16 Entered 05/13/16 14238230

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
IN RE
CHAPTER 7
ALLAN MONTALBANO,
AKA A. P. MONTALBANO, JR., CASE NO. 15-75190 -ast
AKA ALLAN PERRY MONTALBANO,

DEBTOR.

 

PLEASE TAKE NOTICE that upon the annexed affirmation of Nicole Kolczynski, an

associate of the law firm of Shapiro, DiCaro & Barak, LLC, Wells Fargo Bank, N.A. (“Movant”)
will move this Court as set forth below:

JUDGE: HON. Alan S. Trust
RETURN DATE & TIME: June 23, 2016 at 10:30 AM

COURTHOUSE: United States Bankruptcy Court
Alfonse M. D'Amato U.S. Courthouse
290 Federal Plaza
Central Islip, NY 11722

RELIEF REQUESTED: The proposed order will seek to vacate the automatic stay imposed
by ll U.S.C. § 362(a) with regard to the subject property generally
described as 17 Donna Lane, Long Beach, NY 11561, pursuant to
ll U.S.C. §362(d)(l) based upon the total debt due to Movant,
resulting in Movant's lack of adequate protection

16-051094

CaS€ 8-15-75190-38'[ DOC 35 Filed 05/13/16 Entered 05/13/16 14238230

PLEASE TAKE FURTHER NOTICE, that answering affidavits, if any, to the relief
requested, must be Served upon and received by Shapiro, DiCaro & Barak, LLC at their offices
at 175 Mile Crossing Boulevard, Rochester, NY 14624 and filed with the Clerk of the United
States Bankruptcy Court for the Eastem District of New York at United States Bankruptcy
Court, Alfonse M. D'Amato U.S. Courthouse, 290 Federal Plaza, Central Islip, NY 11722 no

later than seven (7) days prior to the return date of this motion.

Dated: May _]_"L, 2016
Rochester, New York _‘

“MA\.,»E/ L-O'C/ir-\A A/L~`
l\'licole Kolczynski 11 l
Bankruptcy Attorney
Shapiro, DiCaro & Barak, LLC
Attorneys for Wells Fargo Bank, N.A.
175 Mile Crossing Boulevard
Rochester, NY 14624
Telephone: (585) 247-9000
Fax: (585) 247-7380

THIS IS AN ATTEMPT TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE. THIS NOTICE IS REQUIRED BY
THE PROVISIONS OF THE FAIR DEBT COLLECTIONS PRAC'I`ICES ACT AND
DOES NOT IMPLY THAT WE ARE ATTEMPTING TO COLLEC'I` MONEY FROM
ANY()NE WHO HAS DISCHARGED THE DEBT UNDER THE BANKRUPTCY LAWS
OF THE UNITED STATES.

TO: SERVICE LIST

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE
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ALLAN MONTALBANO,
AKA A. P. MONTALBANO, JR., CASE NO. 15-75190- ast
AKA ALLAN PERRY MONTALBANO,

DEBTOR.

 

AFFIRMATION IN SUPPORT OF
ENTRY OF AN ORDER GRANTING
RELIEF FROM THE AUTOMATIC STAY

Nicole Kolczynski, an attorney at law duly admitted to practice before the Courts of the
State of New York and the U.S. District Court for the Eastern District of New York, hereby
affirms the following to be true under penalty of perjury:

l. I am an associate witth the law firm of Shapiro, DiCaro & Barak, LLC, attorneys for
Wells Fargo Bank, N.A. (“Movant”), a secured creditor of Allan Montalbano, aka A. P.
Montalbano, Jr., aka Allan Perry Montalbano (“Debtor”). As such, I am fully familiar with the
facts and circumstances of this case.

2. I make this Affirmation in support of the within request for an Order Granting Relief
from the automatic stay, for cause, pursuant to ll U.S.C. § 362(d)(l).

3. Jurisdiction is conferred on this Court by the provisions of 28 U.S.C. § 1334. 'I`his is
a proceeding to terminate and annul the automatic stay and is therefore a “core” proceeding
within the meaning of 28 U.S.C. § 157(b)(2).

4. Movant is a secured creditor of the Debtor pursuant to a note executed by Allan
Montalbano (“Mr. Montalbano”) on August 28, 2012, whereby Mr.Montalbano promised to

repay the principal amount of $560,000.00 plus interest to Vangaurd Funding, LLC (the “Note”).

16-051094

CaS€ 8-15-75190-38'[ DOC 35 Filed 05/13/16 Entered 05/13/16 14238230

To secure the repayment of the Note, Mr. Montalbano and Jillian Montalbano granted Mortgage
Electronic Registration Systems Inc., as nominee for Vangaurd Funding, LLC a mortgage, which
was duly recorded in the Nassau County Clerk's Office on September 12, 2012 in Book 37699,
Page 634 (the “Mortgage,” Note and Mortgage, collectively, as the “Loan”), encumbering real
property located at 17 Donna Lane, Lido Beach, NY 11561 (the “Property”). The Loan was
assigned to Movant as memorialized by instrument dated December ll, 2015 and duly recorded
on January 4, 2016 (“Assignment of Mortgage”). Copies of the Note, Mortgage, and
Assignment of Mortgage are annexed hereto as Exhibit “A”.

5. Upon information and belief, the Debtor herein own(s) the Property.

6. Debtor filed a petition for relief under Chapter 7 of the U.S. Bankruptcy Code on or
about November 30, 2015.

7 . Debtor has failed to make current mortgage payments due to Movant under the terms
of the Loan. As a result, the Mortgage remains due for the March 1, 2016 payment and each
subsequent payment thereafter.

8. The amount of delinquency due as of May 6, 2016 under the Mortgage is as follows:

3 Defaulted Monthly Payments at $3,803.88 each $11,411.64
(March 2016 through May 2016)
Total Delinquencies $l 1,41 1.64

9. A copy of the Relief from Stay-Real Estate and Cooperative Apartments (“Affidavit”)
is annexed hereto as Exhibit “B”.

10. Moreover, in view of the total debt due to Movant and in light of the Debtors failure
to make payments, Movant is no longer adequately protected. The automatic stay must be

vacated for cause pursuant to ll U.S.C. § 362(d)(l).

16-05 1094

CaS€ 8-15-75190-38'[ DOC 35 Filed 05/13/16 Entered 05/13/16 14238230

ll. As set forth in the Af`fldavit, as of May 6, 2016, the approximate debt due and owing
to Movant equals $529,305.00. The debt is accruing interest at a rate of 3.875% per annum.

12. Based upon the Debtor's Schedule A, the Property has an estimated fair value of
approximately $725,000.00. A copy of Debtor's Schedule A is annexed hereto as Exhibit “C”.
As indicated in paragraph 11 herein above, the total debt to Movant equals $529,305.00.

13. Upon information and belief, according to the Debtor’s bankruptcy petition, there
exists a second lien on this property in favor of Chase Home Equity Servicing in the amount of
$14,091.14 (the “Chase Lien”). See Schedule D, attached hereto as Exhibit “D”.

14. Movant, according to the laws of the State of New York and the terms and conditions
of the Mortgage, desires to continue and/or commence foreclosure proceedings With respect to
the Property.

15. The Debtor, Debtor's Attorney, the Chapter 7 Trustee and the Office of the United
States Trustee have each been duly served with the within Notice of Motion, Affirmation,
Exhibits and proposed Order Vacating Stay, as more fully set forth in the annexed affidavit of
mailing.

16. No prior application has been made for the relief requested herein.

16-05 1094

CaS€ 8-15-75190-38'[ DOC 35 Filed 05/13/16 Entered 05/13/16 14238230

WHEREFORE, Movant respectfully requests an Order of this Court vacating the
automatic stay for cause pursuant to ll U.S.C. § 362(d)(1) as to the aforementioned Property;
allowing Movant, its agents, assigns or successors in interest, leave to foreclose the Mortgage
secured by the subject Property', and for such other, further and different relief as to this Court
may seem just, proper and equitable

Dated: May 15_, 2016
Rochester, New York _

MA_/€/ /¢'Q.c»-v\n.a/L-'
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